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   Andrew Altschul, OSB No. 980302
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   921 SW Washington St., Suite 516
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   Attorneys for Defendant




                             IN THE UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF OREGON

                                          PORTLAND DIVISION


    BEN COLEMAN-FIRE,                                    Civil No. 3:18-cv-00180-SB

                             Plaintiff,                  DECLARATION OF ANDREW
                                                         ALTSCHUL IN SUPPORT OF
                     v.                                  DEFENDANT’S RESPONSE TO
                                                         PLAINTIFF’S MOTION FOR
    STANDARD INSURANCE COMPANY,                          ATTORNEY’S FEES AND COSTS

                             Defendant.


             I, Andrew Altschul, declare under penalty of perjury:

             1.     I am a partner in the firm of Buchanan Angeli Altschul & Sullivan LLP and I am

   the attorney for the Defendant Standard Insurance Company in this matter and make this

   Declaration based upon my own personal knowledge, and if called, could competently testify

   thereto. I am over the age of 21 years and I have personal knowledge of the matters stated

   herein.




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         RESPONSE TO PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS
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          2.      Attached as Exhibit A is a letter containing a settlement demand that was emailed

   to me on June 1, 2018 by Plaintiff’s counsel in this matter.

          3.      In response to the letter, I conveyed to plaintiff’s attorney that Standard was open

   to mediating the matter, but plaintiff indicated that he “will not consider mediation expect

   possibly to bridge a modest gap,” and that “Standard would have to first respond with a figure

   close to Ms. [sic] Coleman-Fire’s initial offer.” See June 26, 2018 email attached as Exhibit B.

          4.      In lieu of contesting Plaintiff’s Motion to Compel (Docket No. 13), Standard

   produced 11-pages of documents subject to Stipulated Protective Order.

          I HEREBY DECLARE AND VERIFY UNDER PENALTY OF PERJURY THAT THE

   FOREGOING STATEMENT IS TRUE AND CORRECT TO THE BEST OF MY

   KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND THAT IT IS MADE FOR USE

   AS EVIDENCE IN COURT, AND INTENDED SPECIFICALLY FOR THE USE IN THE

   ABOVE-CAPTIONED COURT PROCEEDING.




           DATED: November 22, 2019.
                                                      BUCHANAN ANGELI ALTSCHUL &
                                                      SULLIVAN LLP


                                                      s/ Andrew Altschul
                                                      Andrew Altschul, OSB No. 980302
                                                      andrew@baaslaw.com
                                                      Telephone: (503) 974-5015
                                                      Attorneys for Defendant




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707 NE Knott Street, Suite 101
Portland, OR 97212
Phone: (503) 223-7400                                                                            Megan Glor
Fax: (503) 751-2071                                                                      megan@meganglor.com


                                                  June 1, 2018

       By e-mail: andrew@baaslaw.com

       Andrew Altschul
       Buchanan Angeli Altschul & Sullivan LLP
       921 SW Washington St., Suite 516
       Portland, OR 97205
       Facsimile: (971) 230-0337

              Re: Bethany Coleman-Fire v. Standard Ins. Co., Case No. 3:18-cv-00180-SB
              Confidential Settlement Offer Per FRE 408

       Dear Andrew:

                On behalf of Bethany Coleman-Fire, I am writing to extend a settlement offer in the
       amount of $1,518,123.15 . Standard’s payment would “buy out” Ms. Coleman-Fire’s long-term
       disability claim and rights under the Davis Wright Tremaine group policy and terminate the
       litigation. This is a very strong case for Ms. Coleman-Fire.

               On February 9, 2014, Ms. Coleman-Fire was struck by a car while walking her dog. The
       force of the collision threw her head into the car’s windshield, cracking it; she was then thrown
       into the air and struck the ground, again with her head. She immediately reported nausea and
       headache to EMS and in the emergency room. She was diagnosed with a concussion and
       subsequently developed post concussion syndrome (PCS), with common PCS symptoms,
       including fatigue, headaches, malaise/feeling unwell, vertigo and sensitivity to light and noise, in
       addition to cognitive problems and, later depression. Her physical symptoms of PCS have been
       relentless. For example:

          ●   2/20/14, Dr. Uppal, primary care: Global headache; worsening vertigo with nausea when
              standing, moving or turning her head.
          ●   3/3/14, Dr. Ellison, neurologist: Continuous migratory mild dull headache, intermittently
              worse, continuing fatigue, lack of energy, daytime sleepiness, neck pain, dizziness,
              feeling of being unable to focus.
          ●   4/9/14, MPT Persons: Intermittent lightheadedness, headache, working half-time “ going
              ok”, but fatiguing very easily, intermittent headaches, dizziness.
          ●   5/19/14, PT Schlimgen: Fatigue with stress/exercise, constant headaches, sensitivity to
              noise, “out of body” feeling.
          ●   7/11/14, Dr. Uppal: Vertigo, dizziness, blurred vision.




                                                                                                         Exhibit A
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Re: Bethany Coleman-Fire v. Standard Ins. Co.
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   ●   9/9/14, Dr. Chesnutt, sports medicine/concussion expert: Symptoms had worsened with
       return to work, including nausea and fatigue, exhaustion with minimal activity. Working
       beyond half-time had caused worsening.
   ●   12/4/14, OT Yee: Impaired peripheral vision and convergence; fatigue, decreased
       coordination, exhausted from work.
   ●   3/3/15, Dr. Chesnutt: Headache, neck pain, vision problems, hearing problems/ringing in
       ears; feeling dinged or dazed, slowed down, drowsiness, fatigue, sensitivity to light.
   ●   5/28/15, OT Yee: Extreme fatigue daily, feeling “out of body” when extremely tired or
       stressed.
   ●   8/25/15, Dr. Chesnutt: Fatigue, headache, vision problems, hearing problems/ringing in
       ears, don’t feel right, feeling dinged or dazed, sensitivity to light, sensitivity to noise, lack
       of stamina.
   ●   12/11/15, Dr. Chesnutt: Fatigue, precipitous drop in energy and disabling headache after
       a few hours of work, headaches 3 days/week (disabling headaches twice a month), light
       sensitivity, not sleeping well.
   ●   5/22/15, Dr. Walker, neuropsychologist: Daily fatigue, visual problems with limited
       tolerance for reading.
   ●   5/26/15, Dr. Chesnutt: Fatigue noted as #1 symptom/concern.
   ●   6/2/15, Dr. Uppal: Very fatigued, no energy.
   ●   12/10/15, Dr. Chesnutt: Daily headaches, neck pain, sensitivity to light and noise, fatigue.
   ●   12/16/15, Dr. Chesnutt: Drop in energy/fatigue after a few hours working, headaches
       (disabling twice a month), light sensitivity.
   ●   11/10/16: Dr. Goodwin, neuropsychologist: Susceptibility to fatigue, sleep disturbance,
       post-traumatic headaches, visual changes, sensitivity to light and sound.

        Judicial review will be de novo. No reasonable person would conclude that a patient with
these persistent physical symptoms – which are typical of PCS – could practice law on a daily,
predictable basis. Nor would a reasonable person conclude that depression became the cause, in
whole or in part, of these physical symptoms of PCS as of September 16, 2014.

        Standard’s Mental Disorder limitation also cannot reasonably be interpreted to limit
benefits for disability resulting from PCS to 24 months, when cognitive symptoms, a known,
common symptom of PCS, result from physical injury to the brain. Further, the policy’s Mental
Disorder limitation provides that benefits are payable at the end of the 24-month period if the
claimant is disabled by physical symptoms at that time.

       Ms. Coleman-Fire fought to return to work and to continue working, unsuccessfully, due
to PCS. As the statements submitted to Standard confirm, she was a great lawyer and loved her
job. She was a rising star prior to the accident. After the accident, she failed to meet
performance goals, even while working part-time, and was unacceptably error-prone.

        Standard is required to pay Ms. Coleman-Fire a gross monthly LTD benefit of $5,875
(salary $9,791.68), less any Deductible Income under the policy, to 9/18/50 (age 67), her normal




                                                                                                     Exhibit A
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Social Security retirement age (DOB 9/19/83) so long as she remains disabled from her
occupation as a lawyer. Standard terminated benefits on September 15, 2016.

The Past Due Benefits (9/15/2016-5/31/2018) are:
9/15/2016-1/31/2017 (4.5 months):                         $5,875 x 4.5           = $ 26,437.50
Less Unemployment Received:
                                         2016: 7 weeks (weeks 46-52):                  -$4,720
                                            2017: 3 weeks (weeks 1-3):                 -$1,488
                                                                                   $ 20,229.50

2/1/2017-5/31/2018 (16 months):                              $5,875 x 16         = $ 94,000.00
Less 50% of $7,579.59 monthly work earnings                  $3,789 x 16        = -$ 60,624.00
                                                                                   $ 33,376.00

Past Due Benefits Total:                                                           $53,605.50

The Future Benefits (6/1/18-9/18/50) are:
6/1/18-5/31/2019 (end of employment contract)                $5,875 x 12         = $ 70,500.00
Less 50% of $7,579.59 monthly work earnings                  $3,789 x 12          -$ 45,468.00
                                                                                   $ 25,032.00
   Ms. Coleman-Fire is not required to work under the policy and does not
   expect to work after her contract with the Bankruptcy Court expires on
   May 31, 2019. Thus, she expects her future LTD benefit amount to be
   $5,875, payable from 6/1/19 to 9/18/50, when she turns 65 (31.3 years or
   375.6 months).

PV of future benefit stream, assuming 4% return on investment:
$5,875 per month, 6/1/19-9/18/50:                                               $1,258,166.00

Future Benefits Total:                                                          $1,283,198.00

Other:

Estimated Attorney Fees and Costs In Litigation:                                  $150,000.00
Adverse tax consequences from buyout vs payment over time
(incomes taxes 32% (settlement) vs. 24% (payments over time):                     $ 200,000.00

Other Total:                                                                      $350,000.00

GRAND TOTAL:                                                                    $1,686,803.50




                                                                                            Exhibit A
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Re: Bethany Coleman-Fire v. Standard Ins. Co.
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        Judicial review will be de novo in accordance with WAC 284-50-321. Ms. Coleman-
Fire’s settlement offer of $1,518,123.15, which is 90% of the total above, reflecting her strong
case. This is not a starting point for negotiation, but is very close to her bottom line. We look
forward to receiving Standard’s response.

                                      Sincerely,




                                      Megan E. Glor

cc: Ms. Bethany Coleman-Fire




                                                                                                 Exhibit A
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                                                                         Exhibit B
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                                  CERTIFICATE OF SERVICE

       I hereby certify that I served the foregoing DEFENDANT’S RESPONSE TO

PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND COSTS on the following-named

persons on the date indicated below in the manner indicated:


        mailing with postage prepaid
        hand delivery
        facsimile transmission
        email
        notice of electronic filing using the CM/ECF system

        Megan E. Glor
        John C. Shaw
        Megan E. Glor, Attorneys at Law
        707 NE Knott Street, Suite 101
        Portland, OR 97212
        megan@meganglor.com
        john@meganglor.com

        Attorneys for Plaintiff


        DATED: November 22, 2019                 BUCHANAN ANGELI ALTSCHUL &
                                                 SULLIVAN LLP

                                                 s/ Andrew Altschul
                                                 Andrew Altschul, OSB No. 980302
                                                 Telephone: (503) 974-5015
                                                 Attorneys for Defendant




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